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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          DETROIT DIVISION


MARIE KISTLER,
                                                   CIVIL COMPLAINT
Plaintiff,

v.                                                 CASE NO. 2:20-cv-13142

FLAGSTAR BANK, F.S.B.,
                                                DEMAND FOR JURY TRIAL
Defendant.


                                    COMPLAINT

       NOW COMES Marie Kistler. (“Plaintiff”), by and through her undersigned

attorney, complaining of Flagstar Bank, F.S.B. (“Defendant”) as follows:

                               NATURE OF THE ACTION

     1. Plaintiff brings this action against Defendant seeking redress for violations of

the Telephone Consumer Protection Act (“TCPA”) pursuant to 47 U.S.C. §227 and

violations of the Michigan Collection Practices Act (“MCPA”) pursuant to M.C.L.

§445.251.

                              JURISDICTION AND VENUE

     2. This action arises under and is brought pursuant to the TCPA. Subject matter

jurisdiction is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and




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1337, as the action arises under the laws of the United States. Supplemental

jurisdiction exists for the state law claim pursuant to 28 U.S.C. §1367.

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

resides in this district.

                                      PARTIES

   4. Plaintiff is a consumer and natural person over 18-years-of-age who, at all

times relevant, is a “person” as defined by 47 U.S.C. §153(39).

   5. Defendant is a Federal Savings Bank with its headquarters located at 5151

Corporate Dr., Troy, Michigan 48098.

                        FACTS SUPPORTING CAUSE OF ACTION

   6. Around 2003, Plaintiff’s mortgage (“subject debt”) was transferred in good

standing to Defendant.

   7. In May 2019, Plaintiff began suffering from financial difficulties and fell

behind on the loan.

   8. Consequently, Defendant began placing collection calls to Plaintiff’s cellular

telephone number (260) XXX-4313 attempting to collect on the subject debt.

   9. At all times relevant to the instant action, Plaintiff was the sole subscriber,

owner, possessor, and operator of the cellular telephone ending in 4313. Plaintiff is

and always has been financially responsible for this cellular telephone and its

services.


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   10. Subsequently, Plaintiff decided that she needed to file for bankruptcy.

   11. Around October 16, 2020, Plaintiff answered a call from Defendant during

which she informed Defendant that she was filing for bankruptcy, to direct all future

communications to her bankruptcy attorney, and to no longer contact her.

   12. Defendant continued to call Plaintiff, and Plaintiff has answered several more

phone calls, again requesting that Defendant cease contacting her.

   13. Notwithstanding Plaintiff’s multiple requests that Defendant cease placing

calls to her cellular phone, Defendant placed or caused to be placed numerous

harassing phone calls to Plaintiff’s cellular phone between October 2020 and the

present date.

   14. In the phone calls Plaintiff answered, Plaintiff was greeted by a noticeable

period of “dead air” while Defendant’s telephone system attempted to connect

Plaintiff to a live agent.

   15. Specifically, there would be an approximate 3 second pause between the time

Plaintiff said “hello,” and the time that a live agent introduced them self as a

representative of Defendant attempting to collect on the subject debt.

   16. Plaintiff’s demands that Defendant’s phone calls cease fell on deaf ears and

Defendant continued its phone harassment campaign.




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   17. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular

telephone using an automated telephone dialing system, a telephone dialing system

that is commonly used in the banking industry to collect defaulted accounts.

                                        DAMAGES

   18. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily

life and general well-being.

   19. Defendant’s phone harassment campaign and illegal collection activities have

caused Plaintiff actual harm, including but not limited to, invasion of privacy,

nuisance, intrusion upon and occupation of Plaintiff’s cellular telephone capacity,

wasting Plaintiff’s time, the increased risk of personal injury resulting from the

distraction caused by the phone calls, aggravation that accompanies unsolicited

telephone calls, emotional distress, mental anguish, anxiety, loss of concentration,

diminished value and utility of telephone equipment and telephone subscription

services, the loss of battery charge, and the per-kilowatt electricity costs required to

recharge her cellular telephone as a result of increased usage of her telephone

services.

   20. In addition, each time Defendant placed a telephone call to Plaintiff,

Defendant occupied Plaintiff’s telephone number such that Plaintiff was unable to

receive other phone calls.




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   21. Concerned about the violations of her rights and invasion of her privacy,

Plaintiff was forced to seek the assistance of counsel to file this action to compel

Defendant to cease its unlawful conduct.

   COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   22. Plaintiff restates and realleges paragraphs 1 through 21 as though fully set

forth herein.

   23. Defendant placed or caused to be placed frequent non-emergency calls,

including but not limited to the calls referenced above, to Plaintiff’s cellular

telephone using an automatic telephone dialing system (“ATDS”) without her

consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

   24. The TCPA defines ATDS as “equipment which has the capacity...to store or

produce telephone numbers to be called, using a random or sequential number

generator; and to dial such numbers.” 47 U.S.C. §227(a)(1).

   25. Upon information and belief, based on the lack of prompt human response

during the phone calls in which Plaintiff answered, Defendant used an ATDS to

place calls to Plaintiff’s cellular telephone.

   26. Upon information and belief, the ATDS employed by Defendant transfers the

call to a live agent once a human voice is detected, thus resulting in a pause after the

called party speaks into the phone.




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   27. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s

cellular phone from October 2020 through the present day using an ATDS without

her consent.

   28. Any prior consent, if any, was revoked by Plaintiff’s numerous verbal

revocations. As pled above, Plaintiff verbally revoked consent to be called on her

cellular phone in October 2020.

   29. As pled above, Plaintiff was severely harmed by Defendant’s collection calls

to her cellular phone.

   30. Upon information and belief, Defendant has no system in place to document

and archive whether it has consent to continue to contact consumers on their cellular

phones.

   31. Upon information and belief, Defendant knew its collection practices were in

violation of the TCPA, yet continued to employ them to increase profits at Plaintiff’s

expense.

   32. Defendant, through its agents, representatives, employees, officers, members,

directors, heirs, successors, subsidiaries, assigns, principals, trustees, sureties,

vendors, subrogees, representatives and insurers acting within their scope of

authority, acted intentionally in violation of 47 U.S.C. §227(b)(1)(A)(iii).

   33. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a

minimum of $500 per phone call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C),


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Defendant’s willful and knowing violations of the TCPA triggers this Honorable

Court’s discretion to triple the damages to which Plaintiff is otherwise entitled to

under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff, Marie Kistler, respectfully requests that this Honorable
Court enter judgment in her favor as follows:
      a. Declaring that the practices complained of herein are unlawful and violate
         the aforementioned statutes and regulations;

      b. Awarding Plaintiff damages of at least $500.00 per phone call and treble
         damages pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

      c. Enjoining Defendant from contacting Plaintiff; and

      d. Awarding any other relief as this Honorable Court deems just and
         appropriate.

    COUNT II – VIOLATIONS OF THE MICHIGAN COLLECTION PRACTICES ACT

   34. Plaintiff restates and realleges paragraphs 1 through 34 as though fully set

forth herein.

   35. Plaintiff is a “consumer” or “debtor” as defined by M.C.L. § 445.251(1)(d).

   36. Defendant is a “regulated person” as defined by M.C.L. § 445.251(1)(g) as it

is a “person whose collection activities are confined and are directly related to the

operation of a business other than that of a collection agency . . . .”

   37. The subject debt is a “claim” or “debt” as defined by M.C.L. § 445.251(1)(a).




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          a. Violations of M.C.L. § 445.252(f)(ii)

   38. The MCPA, pursuant to M.C.L. § 445.252(f)(ii), prohibits a regulated person

from “[m]isrepresenting in a communication with a debtor . . . [t]he legal rights of

the creditor or debtor.”

   39. Defendant violated M.C.L. § 445.252(f)(ii) by repeatedly contacting

Plaintiff’s cellular phone using an automated system absent consent. Through its

conduct, Defendant misrepresented that it had the legal ability to contact Plaintiff

using an automated system when it did not have consent to do so by virtue of

Plaintiff’s demands that Defendant stop calling. As such, Defendant misrepresented

its legal rights, as well as Plaintiff’s legal rights, by continuing to contact Plaintiff’s

cellular phone absent the lawful ability to do so.

          b. Violations of M.C.L. § 445.252(n)

   40. The MCPA, pursuant to M.C.L. § 445.252(n), prohibits a regulated person

from “[u]sing a harassing, oppressive, or abusive method to collect a debt, including

causing a telephone to ring or engaging a person in telephone conversations

repeatedly, continuously, or at unusual times or places which are known to be

inconvenient to the debtor.”

   41. Defendant violated the MCPA when it continuously called Plaintiff after

being notified to stop. In spite of Plaintiff’s demands, Defendant systematically

contacted Plaintiff multiple times.      This repeated behavior was harassing and


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abusive, and the frequency and volume of calls shows that Defendant willfully

ignored Plaintiff’s pleas with the goal of annoying and harassing her.

          c. Violations of M.C.L. § 445.252(q)

   42. The MCPA, pursuant to M.C.L. § 445.252(q), subjects collection agencies to

liability for “[f]ailing to implement a procedure designed to prevent a violation by

an employee.”

   43. Defendant violated the MCPA by failing to adequately have procedures in

place designed to prevent a violation by its employee. Plaintiff was contacted by

Defendant regarding a debt, and Plaintiff demanded that Defendant stop contacting

her, yet Defendant’s contacts persisted. This demonstrates the lack of any procedures

in place by Defendant wherein its employees and system would cease calling after

becoming aware that its calls were unwelcome and inconvenient. As such,

Defendant has failed to implement a procedure designed to prevent its employees

from engaging in harassing, oppressive, or abusive methods in connection with its

collection of debts.

   44. Defendant’s violations of the MCPA were willful. Defendant was notified by

Plaintiff that he did not wish to receive any more phone calls, yet Plaintiff was still

bombarded with collection phone calls from Defendant. In a willful manner,

Defendant called Plaintiff repeatedly and continuously notwithstanding her demands

that the calls cease. Upon information and belief, Defendant regularly engages in the


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above-described behavior against consumers, further demonstrating the willful

failure to implement adequate procedures designed to prevent violations of the

MCPA.

WHEREFORE, Plaintiff, Marie Kistler, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief, pursuant to M.C.L. § 445.257(1).

   c. Awarding Plaintiff actual damages, or three times actual damages, pursuant
      to M.C.L. § 445.257(2).

   d. Awarding statutory damages of at least $50.00 and treble damages, pursuant
      to M.C.L. § 445.257(2).

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to M.C.L. §
      445.257(2).

   f. Awarding any other relief as this Honorable Court deems just and
      appropriate.

Plaintiff demands trial by jury.
Dated: November 30, 2020                      Respectfully Submitted,
                                              /s/ Alexander J. Taylor
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